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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SUNIL BHATIA, individually and                )
derivatively on behalf of MEDVALUE            )
OFFSHORE SOLUTIONS, INC.,                     )
                                              )
                       Plaintiff,             )
                                              )
                v.                            )
                                              )
RAJU VASWANI, an individual, KARAN            )
VASWANI, an individual, MV OUTSOURCING, )
INC., an Illinois Corporation,                ) Case Number: 1:18-cv-2387
                                              )
                       Defendants.            ) Honorable Judge Dow
_________________________________________ )
RAJU VASWANI, individually and                ) Honorable Magistrate Judge Jantz
derivatively on behalf of MEDVALUE            )
OFFSHORE SOLUTIONS, INC.,                     )
An Illinois Corporation,                      )
                                              )
Counter-plaintiff and                         )
Third-party Plaintiff,                        )
                                              )
                v.                            )
                                              )
SUNIL BHATIA, an individual,                  )
                                              )
                       Counter-defendant,     )
                                              )
                and                           )
                                              )
VARSHA BHATIA, an individual,                 )
                                              )
                       Third-party Defendant. )

 PLAINTIFF’S AND THIRD-PARTY DEFENDANT’S MOTION FOR EXTENSION OF
               TIME TO RESPOND TO WRITTEN DISCOVERY

       Sunil Bhatia (herein “Plaintiff”) and Varsha Bhatia (herein “Third-Party Defendant”), by

their attorneys, Regas, Frezados & Dallas LLP, for their Motion for Extension of Time to Respond

to Written Discovery state as follows:

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       1.      Federal Rule of Civil Procedure 6(b)(1) states that when an act may or must be done

within a specified time, the court may, for good cause, extend the time: . . . with or without motion

or notice if the court acts, or if a request is made, before the original time or its extension expires

....

       2.      This Court previously ordered the parties to issue all additional written discovery

by December 7, 2020 and to respond by January 6, 2021 (Doc. #205). On or around November

23, 2020, the parties agreed to an extension of December 14, 2020 to issue additional written

discovery and January 14, 2021 to respond to the additional written discovery.

       3.      On December 14, 2020, Defendants and Counter-Plaintiff/Third Party Plaintiff

issued four sets of interrogatories, three sets of production requests and three sets of requests to

admit to Plaintiff and Third-Party Defendant.            In total, they issued approximately 80

interrogatories, 224 requests to produce and 169 requests to admit.

       4.      Plaintiff and Third-Party Defendant anticipated that they would need additional

time beyond January 14, 2021 to respond to this considerable volume of discovery, and they

informed Defendants and Counter-Plaintiff/Third-Party Plaintiff of this likelihood. Accordingly,

the parties’ joint status report, filed with the Court on December 22, 2020, (Doc. #: 236) indicated

that “In the event that the parties require additional time to respond to outstanding discovery

requests, they will attempt to agree or will petition the Court accordingly.”

       5.      In late December of 2020, Plaintiff and Third-Party Defendant’s counsel, Steven

M. Dallas, contracted Covid-19, which hindered his ability to complete the discovery issued by

Defendants and Counter-Plaintiff/Third-Party Plaintiff. Further, the Christmas and New Year’s

holiday further hindered Plaintiff’s and Third-Party Defendant’s responses to the discovery issued.




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         6.       In light of the substantial volume of discovery issued and the other matters set forth

above, good cause exists to the extend the deadline for Plaintiff and Third-Party Defendant to

respond to the written discovery issued to them on December 14, 2020.

         7.       Plaintiff and Third-Party Defendant will endeavor to complete written discovery by

February 11, 2021, although additional time may be necessary.

         WHEREFORE, Plaintiff and Third-Party Defendant request that the Court grant an

extension to and including February 11, 2021 to complete the written discovery issued to them.

                                                                Regas, Frezados & Dallas LLP

                                                                By:       /s Steven M. Dallas
                                                                      Attorneys for Plaintiff and Third-
                                                                      Party Defendant
Steven M. Dallas 6303138 stevend@rfd-law.com
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(312) 236-4400

                                         CERTIFICATE OF SERVICE

        The undersigned certifies that on January 14, 2021, I caused to be filed with the Clerk of
the United States District Court for the Northern District of Illinois Plaintiff’s and Third Party
Defendant’s Motion for Extension of Time to Respond to Written Discovery using the Court’s
ECF system, which automatically results in the transmission, by e-mail to all parties in this action
who have registered use the ECF in the Northern District of Illinois, of a notice of electronic filing
that constitutes service, pursuant to the general order issued by this Court and the Federal Rules of
Civil Procedure.

[]       Under penalty of perjury, I certify
          that the statements set forth
          forth herein are true and correct.    _/s/ Steven M. Dallas____________________________
                                                Signature




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